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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO

 SANDRA RODRÍGUEZ-COTTO, ET
 AL.

         Plaintiff,

                 v.                                        CIVIL NO. 20-1235 (PAD)

 WANDA VÁZQUEZ-GARCED, et al.,

         Defendants.


                                 MEMORANDUM AND ORDER

Delgado-Hernández, District Judge.

        Plaintiffs initiated this action seeking to enjoin enforcement of two sections of Article 6.14

of the Law of the Puerto Rico Department of Safety, Law No. 20 of 2017, P.R. Laws Ann. tit. 25

§ 3501, et seq., under the First Amendment (Docket Nos. 1), Defendants responded alleging that

the statute is valid, and questioning plaintiffs’ standing (Docket Nos. 13). Meanwhile, the

Legislature approved a bill amending the statute, but the amendment awaits the Governor’s

signature (Docket Nos. 33). Defendants represent that the Governor will sign the amendments

into law. Id. As she has 30 days to sign the bill, the court will not issue any ruling on the statute

as it stands.

        If signed into law, the bill would moot plaintiffs’ challenge to Section (f) but not necessarily

as to Section (a). First Amendment challenges should be resolved expeditiously one way or the

other. But plaintiffs must show standing in order for the court to examine the merits of their claim,

and as the court has noted, it has reservations about plaintiffs’ standing (Docket Nos. 28 and 33).

A general fear of prosecution is not enough. However, the circumstances described in five
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paragraphs of plaintiffs’ declarations involving sources may suffice to confer standing, albeit some

record development may be necessary to accomplish this.

        Plaintiff have been granted leave to amend the complaint in the event the Governor signs

the bill, and to present a renewed request for preliminary injunction (Docket No. 33). Also, they

have stated that they will not disclose their sources. Id. In the event they present a motion for

preliminary injunction based on the amended statute, they shall include in their supporting legal

memorandum a discussion of whether a journalist claiming chilling of sources as basis for standing

in a pre-enforcement facial challenge under the First Amendment, may be recognized standing if

the journalist refuses to disclose the source. For ease of review, they should include cases

specifically addressing this question.

        In light of the procedural posture of the case, the court finds it appropriate to set aside the

status conference scheduled for July 8, 2020. Unless circumstances require otherwise, it will

revisit the case schedule immediately upon notice that the Governor has signed the bill into law.

        SO ORDERED.

        In San Juan, Puerto Rico, this 6th day of July, 2020.

                                                       s/Pedro A. Delgado-Hernández
                                                       PEDRO A. DELGADO-HERNÁNDEZ
                                                       United States District Judge
